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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                 Case No.: _______________

HUMBERTO GUTIERREZ, GLORIA E. DIAZ,               )
and other similarly situated individuals,         )
                                                  )
               Plaintiffs,                        )
                                                  )
v.                                                )
                                                  )
GEMILANG SOLUTIONS LLC, HAYDE                     )
RODRIGUEZ, and JUAN RODRIGUEZ,                    )
                                                  )
               Defendants.                        )
                                                  )
                                                  )

                                     COMPLAINT
                         (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

       Plaintiffs HUMBERTO GUTIERREZ and GLORIA E. DIAZ (the “Plaintiffs”) and other

similarly situated individuals sue defendants GEMILANG SOLUTIONS LLC, HAYDE

RODRIGUEZ, and JUAN RODRIGUEZ (collectively, the “Defendants”) and allege:

                               JURISDICTION AND VENUE

       1.     This is an action to recover money damages for unpaid overtime wages under the

laws of the United States.

       2.     This Court has jurisdiction pursuant to the Fair Labor Standards Act, 29 U.S.C.

§ 201-219 (Section 216 for jurisdictional placement) (the “Act” or the “FLSA”).

       3.     The Defendant GEMILANG SOLUTIONS LLC (the “Corporate Defendant”) is a

Florida Limited Liability Company duly authorized and existing under the laws of the State of

Florida and residing and conducting business in Osceola County, Florida.
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       4.      The Defendants HAYDE RODRIGUEZ and JUAN RODRIGUEZ (the “Individual

Defendants”), upon information and belief, reside and conduct business in Osceola County,

Florida.

       5.      The Plaintiffs are residents of Osceola County, Florida, within the jurisdiction of

this Honorable Court. The Plaintiffs are a covered employees for purposes of the Act.

       6.      The acts or omissions giving rise to this Complaint occurred in whole or in part in,

Osceola County, Florida.

       7.      The acts complained of occurred within this judicial district, the Defendants have

their principal place of business and reside within this judicial district, and the employment records

of the Plaintiff are stored or have been administered in this judicial district.

                                   GENERAL ALLEGATIONS

       8.      At all times material, Corporate Defendant is and was a cleaning company.

       9.      Plaintiffs worked for Defendants as part of their cleaning crew. Plaintiff

HUMBERTO GUTIERREZ (individually “Gutierrez”) primarily worked washing dishes for the

Defendants. Plaintiff GLORIA E. DIAZ (individually “Diaz”) primarily worked polishing items.

       10.     When Plaintiffs worked for Defendants, Gutierrez spent between 50-70 hours per

week working for Defendants and Diaz spent anywhere between 50-60 hours per week working

for Defendants.

       11.     Gutierrez’s hourly rate while employed by Defendants was $10.50 per hour.

Gutierrez’s employment with the Defendants lasted from approximately October 2, 2021 through

March 2, 2022.
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        12.    Diaz’s hourly rate while employed by Defendants was $10.50 per hour. Diaz’s

employment with the Defendants lasted from approximately October 1, 2021 through March 3,

2022.

        13.    Defendants did not pay overtime to any of the Plaintiffs when they worked more

than 40 hours per week.

              COUNT I: FLSA VIOLATION BY CORPORATE DEFENDANT

        14.    The Plaintiffs re-adopt each and every factual allegation as stated in paragraphs 1-

13 above as if set out in full herein.

        15.    The Plaintiffs are covered employees for purposes of the Act.

        16.    This action is brought by the Plaintiffs and those similarly situated to recover from

the Corporate Defendant unpaid overtime compensation, as well as an additional amount as

liquidated damages, costs, and reasonable attorneys’ fees under the provisions of 29 U.S.C. § 201

et seq., and specifically under the provisions of 29 U.S.C. § 207.

        17.    Section 207(a)(1) of the Act states: “No employer shall employ any of his

employees . . . for a work week longer than 40 hours unless such employee receives compensation

for his employment in excess of the hours above-specified at a rate not less than one and a half

times the regular rate at which he is employed.”

        18.    Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

U.S.C. § 216(b). The Corporate Defendant is and, at all times pertinent to this Complaint, was

engaged in interstate commerce.

        19.    At all times pertinent to this Complaint, the Corporate Defendant operated as an

organization which sold and/or marketed its services and/or goods to customers from throughout

the United States and also provided its services for goods sold and transported from across state
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lines of other states, and the Corporate Defendant obtained and solicited funds from non-Florida

sources, accepted funds from non-Florida sources, used telephonic transmissions going over state

lines to do its business, transmitted funds outside the State of Florida, and otherwise regularly

engaged in interstate commerce, particularly with respect to its employees.

       20.      Upon information and belief, the annual gross revenue of the Corporate Defendant

was at all times material hereto in excess of $500,000 per annum, and/or the Plaintiffs and those

similarly situated, by virtue of working in interstate commerce, otherwise satisfy the Act’s

requirements.

       21.      By reason of the foregoing, the Corporate Defendant is and was, during all times

hereafter mentioned, an enterprise engaged in commerce or in the production of goods for

commerce as defined in §§ 3(r) and 3(s) of the Act and/or the Plaintiffs and those similarly situated

was/were and/or is/are engaged in interstate commerce for the Corporate Defendant. The

Corporate Defendant’s business activities involve those to which the Act applies. The Corporate

Defendant is a cleaning company and, through its business activity, affects interstate commerce.

The Plaintiffs’ work for the Corporate Defendant likewise affects interstate commerce. Plaintiffs

were employed by the Corporate Defendant in the cleaning crew for the Corporate Defendant’s

business.

                                           GUTIERREZ

       22.      While employed by the Corporate Defendant, Gutierrez worked approximately an

average of 50-70 hours per week without being compensated at the rate of not less than one- and

one-half times the regular rate at which he was employed. Gutierrez was employed washing dishes

performing the same or similar duties as that of those other similarly situated individuals washing
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dishes whom the Plaintiff observed working in excess of 40 hours per week without overtime

compensation.

        23.     Gutierrez worked for the Corporate Defendant from approximately October 2,

2021, to March 2, 2022. In total, Gutierrez worked approximately 22 compensable weeks under

the Act, or 22 compensable weeks if counted 3 years back from the filing of the instant action.

        24.     The Corporate Defendant paid Gutierrez on average approximately $10.50 per

hour.

        25.     However, the Corporate Defendant did not properly compensate Gutierrez for hours

that Gutierrez worked in excess of 40 per week.

        26.     Gutierrez seeks to recover unpaid overtime wages accumulated from the date of

hire and/or from 3 (three) years back from the date of the filing of this Complaint.

        27.     Prior to the completion of discovery and to the best of Gutierrez’s knowledge, at

the time of the filing of this Complaint, Gutierrez’s good faith estimate of his unpaid overtime

wages is as follows:

                a.     Actual Damages: $2,310.00

                       1. Calculation: $10.50 (pay rate) x .5 (overtime rate) x 20 (average weekly

                           overtime hours) x 22 (compensable weeks) = $2,310.00

                b.     Liquidated Damages: $2,310.00

                c.     Total Damages: $4,620.00 plus reasonable attorneys’ fees and costs of suit.

        28.     At all times material hereto, the Corporate Defendant failed to comply with Title

29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Gutierrez and those

similarly situated performed services and worked in excess of the maximum hours provided by the

Act, but no provision was made by the Corporate Defendant to properly pay them at the rate of
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time-and-one-half for all hours worked in excess of forty hours (40) per workweek as provided in

the Act. The additional persons who may become plaintiffs in this action are weekly-paid

employees and/or former employees of the Corporate Defendant who are and who were subject to

the unlawful payroll practices and procedures of the Corporate Defendant and were not paid time-

and-one-half of their regular rate of pay for all overtime hours worked in excess of forty.

       29.     The Corporate Defendant knew and/or showed reckless disregard of the provisions

of the Act concerning the payment of overtime wages and remains owing Gutierrez and those

similarly situated these overtime wages since the commencement of the Gutierrez’s and those

similarly situated employees’ employment with the Corporate Defendant as set forth above, and

Gutierrez and those similarly situated are entitled to recover double damages. The Corporate

Defendant never posted any notice, as required by Federal Law, to inform employees of their

federal rights to overtime and minimum wage payments.

       30.     The Corporate Defendant willfully and intentionally refused to pay Gutierrez

overtime wages as required by the laws of the United States as set forth above and remains owing

Gutierrez these overtime wages since the commencement of Gutierrez’s employment with the

Corporate Defendant as set forth above.

       31.     Gutierrez has retained the law offices of the undersigned attorney to represent him

in this action and is obligated to pay a reasonable attorneys’ fee.



                                                DIAZ

       32.     While employed by the Corporate Defendant, Diaz worked approximately an

average of 50-60 hours per week without being compensated at the rate of not less than one- and

one-half times the regular rate at which she was employed. Diaz was employed by Defendant to
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polish items, and performed the same or similar duties as that of those other similarly situated

individuals employed by Defendants to polish items and whom the Plaintiff observed working in

excess of 40 hours per week without overtime compensation.

       33.     Diaz worked for the Corporate Defendant from approximately October 1, 2021 to

March 3, 2022. In total, Diaz worked approximately 22 compensable weeks under the Act, or 22

compensable weeks if counted 3 years back from the filing of the instant action.

       34.     The Corporate Defendant paid Diaz on average approximately $10.50 per hour.

       35.     However, the Corporate Defendant did not properly compensate Diaz for hours that

Diaz worked in excess of 40 per week.

       36.     Diaz seeks to recover unpaid overtime wages accumulated from the date of hire

and/or from 3 (three) years back from the date of the filing of this Complaint.

       37.     Prior to the completion of discovery and to the best of Diaz’s knowledge, at the

time of the filing of this Complaint, Diaz’s good faith estimate of her unpaid overtime wages is as

follows:

               a. Actual Damages: $1,732.50

                   1. Calculation: $10.50 (pay rate) x .5 (overtime rate) x 15 (average weekly

                      overtime hours) x 22 (compensable weeks) = $1,732.50

               b. Liquidated Damages: $1,732.50

               c. Total Damages: $3,465.00 plus reasonable attorneys’ fees and costs of suit.

       38.     At all times material hereto, the Corporate Defendant failed to comply with Title

29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Diaz and those similarly

situated performed services and worked in excess of the maximum hours provided by the Act, but

no provision was made by the Corporate Defendant to properly pay them at the rate of time-and-
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one-half for all hours worked in excess of forty hours (40) per workweek as provided in the Act.

The additional persons who may become plaintiffs in this action are weekly-paid employees and/or

former employees of the Corporate Defendant who are and who were subject to the unlawful

payroll practices and procedures of the Corporate Defendant and were not paid time-and-one-half

of their regular rate of pay for all overtime hours worked in excess of forty.

         39.    The Corporate Defendant knew and/or showed reckless disregard of the provisions

of the Act concerning the payment of overtime wages and remains owing Diaz and those similarly

situated these overtime wages since the commencement of the Diaz’s and those similarly situated

employees’ employment with the Corporate Defendant as set forth above, and Diaz and those

similarly situated are entitled to recover double damages. The Corporate Defendant never posted

any notice, as required by Federal Law, to inform employees of their federal rights to overtime

and minimum wage payments.

         40.    The Corporate Defendant willfully and intentionally refused to pay Diaz overtime

wages as required by the laws of the United States as set forth above and remains owing Diaz these

overtime wages since the commencement of Diaz’s employment with the Corporate Defendant as

set forth above.

         41.    Diaz has retained the law offices of the undersigned attorney to represent her in this

action and is obligated to pay a reasonable attorneys’ fees.

         WHEREFORE, the Plaintiffs and those similarly situated request that this Honorable

Court:

         a. Enter judgment for the Plaintiffs and others similarly situated and against the Corporate
            Defendant on the basis of the Corporate Defendant’s willful violations of the Fair Labor
            Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

         b. Award the Plaintiffs actual damages in the amount shown to be due for unpaid wages
            and overtime compensation for hours worked in excess of forty weekly; and
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        c. Award the Plaintiffs an equal amount in double damages/liquidated damages; and

        d. Award the Plaintiffs reasonable attorneys’ fees and costs of suit; and

        e. Grant such other and further relief as this Court deems equitable and just.


              COUNT II: FLSA VIOLATION BY INDIVIDUAL DEFENDANTS

        42.    The Plaintiffs re-adopt each and every factual allegation as stated in paragraphs 1-

41 above as if set out in full herein.

        43.    The Plaintiffs are covered employees for purposes of the Act.

        44.    At the times mentioned, the Individual Defendants were, and are now, the owners

and principal officers of the Corporate Defendant.

        45.    The Individual Defendants were and are employers of the Plaintiffs and others

similarly situated within the meaning of Section 3(d) of the Act in that the Individual Defendants

acted directly or indirectly in the interests of the Corporate Defendant in relation to the employees

of the Corporate Defendant, including the Plaintiffs and others similarly situated.

        46.    The Individual Defendants had operational control of the Corporate Defendant,

were involved in the day-to-day functions of the Corporate Defendant, provided the Plaintiffs with

their work schedule, set Plaintiffs’ rate of pay, and are jointly liable for the Plaintiffs’ damages.

        47.    The Individual Defendants are and were, at all times relevant, persons in control of

the Corporate Defendant’s financial affairs and could cause the Corporate Defendant to

compensate (or not to compensate) its employees in accordance with the Act.

        48.    The Individual Defendants directly communicated to Plaintiffs that the Corporate

Defendant “does not pay overtime.”

        49.    The Individual Defendants willfully and intentionally caused the Plaintiffs not to

receive overtime compensation as required by the laws of the United States as set forth above and
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remain owing the Plaintiffs these overtime wages since the commencement of the Plaintiffs’

employment with the Corporate Defendant as set forth above.

         50.    The Plaintiffs have retained the law offices of the undersigned attorney to represent

them in this action and are obligated to pay a reasonable attorneys’ fee.

         WHEREFORE, the Plaintiffs and those similarly situated request that this Honorable

Court:

         a. Enter judgment for the Plaintiffs and others similarly situated and against the Individual
            Defendants on the basis of the Defendants’ willful violations of the Fair Labor
            Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

         b. Award the Plaintiffs actual damages in the amount shown to be due for unpaid wages
            and overtime compensation for hours worked in excess of forty weekly; and

         c. Award the Plaintiffs an equal amount in double damages/liquidated damages; and

         d. Award the Plaintiffs reasonable attorneys’ fees and costs of suit; and

         e. Grant such other and further relief as this Court deems equitable and just.



Dated: April 29, 2022.



                                                      Respectfully submitted,

                                                      By: /s/Aron Smukler
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